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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF FLORIDA
                                PENSACOLA DIVISION

UNITED STATES OF AMERICA

v.                                                  Case Nos.:     3:94cr3136/RV/CJK
                                                                   3:98cv59/RV/CJK

BENNIE CLEVELAND WILLIAMS
________________________________/

                                            ORDER

       This cause comes on for consideration upon the magistrate judge’s Report and
Recommendation dated September 6, 2013 (doc.469). Defendant has been furnished a copy of the
Report and Recommendation and has been afforded an opportunity to file objections pursuant to
Title 28, United States Code, Section 636(b)(1). I have made a de novo determination of any timely
filed objections.
       Having considered the Report and Recommendation, and any objections thereto timely filed,
I have determined that the Report and Recommendation should be adopted.
       Accordingly, it is now ORDERED as follows:
       1. Defendant’s “Motion to Re-open § 2255 with an Affirmative Order in light of Martinez
v. Ryan, which extended the Sixth Amendment Right to Effective Counsel” (doc. 462) is DENIED.
       2. The Government’s “Motion to Dismiss Defendant’s Motion to Reopen Title 28 United
States Code, section 2255 Case” (doc. 466) is GRANTED.
       3. A certificate of appealability is DENIED.
       DONE AND ORDERED this 10th day of October, 2013.




                                             /s/ Roger Vinson
                                             ROGER VINSON
                                             SENIOR UNITED STATES DISTRICT JUDGE
